         Case 1:19-cr-00561-LAP Document 239 Filed 01/05/21 Page 1 of 4



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,
                                                 No. 19-CR-561 (LAP)
-against-
                                                 No. 11-CV-691 (LAK)
STEVEN DONZIGER,
                                                         ORDER
                       Defendant.

LORETTA A. PRESKA, Senior United States District Judge:

     On January 5, 2021, Chief Judge McMahon entered an amended

standing order (appended here) regarding in-person court

operations in the Southern District of New York.            See In re

Coronavirus/COVID 19 Pandemic, M-10-468 (CM) (S.D.N.Y. Jan. 5,

2021).     That order counsels that “[b]ench trials . . . should be

conducted remotely if at all possible” and encourages

“consultation with the parties.”           Id. at 1.   Accordingly, the

parties shall confer and inform the Court, by letter and no

later than January 7, 2021, of their positions regarding the

January 19, 2021 trial date.

SO ORDERED.

Dated:       January 5, 2021
             New York, New York


                               __________________________________
                               LORETTA A. PRESKA
                               Senior United States District Judge




                                       1
UNITEDCase  1:19-cr-00561-LAP
        STATES                Document 239 Filed 01/05/21 Page 2 of 4
                 DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
__________________________________________x

In re Coronavirus/COVID 19 Pandemic                                M-10-468 (CM)

__________________________________________x

This matter relates to:
     Suspension of In-Person Operations
     (Effective January 19, 2021)
_________________________________________x

                         FIRST AMENDED STANDING ORDER
McMahon, C.J.:

On November 30, 2020, this court suspended in person operations through January 15, 2021.

An extension of this temporary curtailment of operations is required to preserve public health
and safety in light of the recent spike in coronavirus cases, both nationally and within the
Southern District of New York, and other medical developments.

 This order outlines the procedures that will be in place during the period December 1, 2020
through January 15, 2021.

IN-PERSON APPEARANCES

All courthouses will be open.

All jury trials scheduled for the period beginning January 19, 2021 and ending February 12,
2021 are adjourned. No petit jurors will be summoned during this extended suspension of
operations. Parties will be notified of a new trial date when one is assigned. In criminal cases,
Speedy Trial Act time shall be excluded from the last scheduled date of expiration until the next
conference scheduled by the presiding judge.

Bench trials and hearings with witnesses (civil or criminal) should be conducted remotely if at
all possible. Presiding judges may, in their discretion and after consultation with the parties,
conclude that a bench trial or hearing with witnesses (i) cannot be conducted remotely, and (ii)
is of sufficient urgency that it cannot be adjourned and must be conducted in person.

Routine civil matters must be conducted remotely.
        Case matters,
 All criminal 1:19-cr-00561-LAP       Documentarraignments,
                       including presentments,   239 Filed 01/05/21      Page 3 of pleas
                                                              criminal conferences, 4     and
sentencings, will be conducted remotely, unless (1) the defendants declines to waive the right
to be physically present, and (2) the court concludes that the matter cannot be postponed, in
conformity with the CARES Act.

If a matter, civil or criminal, that is scheduled for the period covered by this Amended Standing
Order cannot be adjourned or conducted remotely, Chambers must contact Thomas Mixon of
the District Executive’s Office at Thomas.Mixon@nysd.uscourts.gov to make arrangements.

All grand jury operations will continue during the period covered by this order, including
selection of new grand juries if necessary.




OFFICE OF THE CLERK OF COURT

The Clerk’s Offices in both Foley Square and White Plains will be open during normal business
hours (8:30 AM until 4:00 PM). However, the public counters in the Clerk’s Office will be
staffed only from 11:00 AM until 2:00 PM.

New cases, motions and other applications should be filed via ECF. Instructions on how to file
on ECF can be found on the court’s website (www.nysd.uscourts.gov). A drop box will be
available during hours when the public counters are closed if papers cannot be filed on ECF.
Drop boxes may not be used when public counters are open. Drop boxes will be emptied
regularly but there may be delays in getting papers to the assigned judge.

Matters that require the immediate attention of a judge, including applications for temporary
restraining orders, should be filed on ECF. However, any party seeking immediate judicial
attention must also take steps to alert the judge to the pendency of an emergency
application. If the case is already assigned to a district judge, consult the judge’s individual
rules on the court’s website (www.nysd.uscourts.gov) for information on how to reach the
judge, or call and email chambers. If the case is not already assigned to a district judge, or if
you do not hear from the judge within two hours after trying to make contract, counsel seeking
emergency relief must call the Clerk of Court at 212-805-0140 to alert someone that immediate
judicial assistance is required. Emergency applications can also be directed to the Part I judge;
the Part I Duty Roster is posted on the court’s website, together with the necessary contact
information. Parties seeking emergency relief cannot simply file papers on ECF and assume
that they will be heard on an emergent basis.

OFFICE OF THE DISTRICT EXECUTIVE

Members of the staff of the District Executive’s Office will be on site from 8:00 AM until 5:00
PM every weekday. However, the office can be reached only by phone (212-805-0500) or by
email. IfCase 1:19-cr-00561-LAP
          you leave a message, calls Document    239 during
                                     will be returned Filed 01/05/21  Pagehours.
                                                            normal business 4 of 4 Please
email Covid_response@nysd.uscourts.gov for all COVID-19 related questions or concerns.
Further information about the District Executive’s Office operations during the COVID19
pandemic can be found on the court’s website at the following dedicated address:
http://www.nysd.uscourts.gov/covid-19-coronavirus.

PRETRIAL SERVICES/PROBATION

Consult the Southern District website for any changes to the operations of Pretrial and Probation
during this period.

SO ORDERED

Dated: January 5, 2021

                                                    ___________________________________
                                                                Chief Judge
